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 6
 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
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10
      UNITED STATES OF AMERICA,

11
                    Plaintiff,                                  Case No. CR05-334 RSL

12
             vs.
                                                                ORDER DENYING
13
      RAJINDER SINGH JOHAL,                                     RECONSIDERATION OF
                                                                PRETRIAL DETENTION
14
                    Defendant.

15          This matter comes before the Court on Defendant’s “Motion to Reconiser [sic] Order

16   Denying Motion for Review of Detention Order” (Dkt. # 94). The Court previously granted that

17   order in part to allow defendant to appear before Magistrate Judge Benton to present his

18   proposed property bond (Dkt. # 120). Magistrate Judge Benton considered the materials

19   presented and proposed a report and recommendation denying the motion for reconsideration

20   (Dkt. # 130). This Court has considered the material and arguments presented to Magistrate

21   Judge Benton, the conclusions set forth in the report and recommendation of Magistrate Judge

22   Benton, and all other arguments previously presented to the Court.

23          The Court previously denied “Defendant’s Motion for Review of Detention Order” (Dkt.

24   # 64) after concluding that Johal was a flight risk if released, pursuant to the four factor statutory

25   test. 18 U.S.C. § 3142(e). The Court’s conclusion is unchanged by the proposed property bond.

26

27   ORDER DENYING
     RECONSIDERATION OF
28   PRETRIAL DETENTION- 1
            Case 2:05-cr-00334-RSL         Document 182       Filed 06/15/06      Page 2 of 2



 1          Defendant’s recent guilty plea to the money laundering charge, and the government’s
 2   reciprocal agreement to drop the drug charges, does not change this calculation.1 For these
 3   reasons, IT IS HEREBY ORDERED that defendant’s motion to reconsider (Dkt. # 94) is
 4   DENIED.
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 6          DATED this 15th day of June, 2006.
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                                                         A
                                                         Robert S. Lasnik
                                                         United States District Judge
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             The guilty plea does affect defendant’s outstanding motions to suppress (Dkts. # 137, 146).
26   These are hereby stricken as moot.

27   ORDER DENYING
     RECONSIDERATION OF
28   PRETRIAL DETENTION- 2
